AnnualPAUL, REICH & MYERS, P.C.

By: Robert E. Paul, Esquire

Identification No. 21252

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
CIVIL SECTION: TRIAL DIVISION

 

CALVIN DAMON and : CIVIL ACTION
ROSEANNE DAMON, h/w :

VS. : NO. 14-CV-1954
AIREON MANUFACTURING CORP., et al. ASBESTOS CASE

 

ANSWER TO MOTION FOR SUMMARY JUDGMENT OF RAYTHEON

Defendant has failed in its burden on summary judgment. Its motion should be denied.

PAUL, REICH & MYERS, P.C.,

wv Veh fou

ROBERT E. PAUL

 
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AJREON MANUFACTURING CORP., et al. ; ASBESTOS CASE

 

MEMORANDUM IN OPPOSITION TO
MOTION FOR SUMMARY JUDGMENT OF RAYTHEON

I. SUMMARY OF FACTS AND LEGAL ISSUES

Plaintiff was exposed to and inhaled asbestos dust when he opened up Raytheon radar
equipment. The Raytheon equipment contained asbestos. When the case was removed to this
Court on a defense to state court claims and perhaps became a maritime case still plaintiff
retained his state law rights. The government contract defense is for a jury to resolve as the
Court has previously ruled in this case. Defendant is liable in strict liability as there is no
evidence the asbestos in the Raytheon equipment to which he was exposed was not the original.
Under his Pennsylvania law claims he should be permitted to proceed. On the maritime claim in

negligence he should be permitted to proceed against Raytheon for designing its equipment to
contain asbestos.

Il. ACTUAL FACTS OF CASE

Damon’s jobs in the Navy required him to work with radar and/or sonar equipment.
(Exhibit A, 272-302). He worked with Raytheon radar sets. These pieces of equipment were
located in what he called the ECM room (November 18, 2014 deposition Exhibit C NT 115). He
had described the ECM room in the prior deposition as the electronic counter measures room
(April 4 transcript 74). In the April 17, 2014 deposition he described exposure to dust from
Raytheon products (Exhibit A, 271-303, especially 283-289). This included seeing dust on
Raytheon gaskets he repaired. (284-295). The Raytheon components were the same on both
ships (296-297). He took apart the gaskets from the Raytheon scope. In the April video (Exhibit
B) he further described coating and gasket exposure dust from Raytheon products (37-46, 61).
He worked on every piece of equipment in the command centers (116). He described how he
removed the front cover and would remove the dust which had accumulated throughout the
Raytheon product. (119, 121). His job required him to clean and dust out the unit (121). There
is no evidence that these were not original equipment gaskets and coating and seals. This
included! packing and seals which were frayed from the heat (Exhibit C 63, 114-126, 151-152).
Raytheon had sold a radar set AN/SPN-12 CXN-1)(Exhibit D). This was the product which he
opened up as described above. The AN/SPN-12 (XN-1) was the product used on the USS

Independence CVA-62 (Exhibit E), see page 3-1-1. This contained packing’ described by

 

' Counsel for Raytheon objected to some of the testimony but not all. Counsel for
Lockheed believed it was his obligation to object to every question.

* All high heat packing contained asbestos at that time (Exhibit K, Jewitt testimony)

3
Damon, see page 3-17 and seal with asbestos compound. Contained within the Raytheon product
were asbestos products labeled seals and packing. A packing is a sealing type product. Faherty
discusses the role asbestos sealing gaskets and wire played in Damon’s injury (Exhibit F).
Bendix/Honeywell’s expert McCaffery had located the Navy documents that showed asbestos
gaskets, board sealing compound and wire were used on ships during Damon’s service (Exhibit
G).

Despite Raytheon’s attempts to recast the evidence the fact remains that he was exposed
to asbestos dust emitted from Raytheon products from packing and seals designed and intended
by Raytheon. Based on the evidence it was the first time the asbestos products were removed
since their original installation since he noted over 15 years had passed since the last renewal
(Exhibit C, NT 120).

Plaintiff's maritime expert will testify that some of the original equipment asbestos never
left the products (Exhibit F, Faherty) and that the Navy required warnings and that Damon was
exposed to asbestos from gaskets and wire. Dr. Frank stated he would testify based as to the role
of each defendant compared to the totality of the exposure. (Exhibit H). While he did not write a
40 page opus describing the role of each defendant in the total picture, he stated he intended to
discuss the role of each defendant based on the description of their role derived from the
deposition and would discuss the history of knowledge of the hazards of asbestos (Exhibit I).
Raytheon’s founder was an MIT professor so it could easily have known of the hazards of
asbestos (Exhibit J). Raytheon can hardly claim it is unaware of the evidence of exposure in the
case.

Ii. LEGAL ISSUES
A. State Law Claims remain and the Court lacks Jurisdiction and
Negligence and Strict Liability Claims under Pennsylvania and
Maritime Law exist

It is plaintiffs contention that maritime law does not apply herein. It is to be remembered
that maritime jurisdiction is limited see 28 U.S.C. 1333 (1). The section provides original but
not exclusive jurisdiction to federal courts, saving to suitors in all cases all other remedies to
which they are otherwise entitled. This Court has recognized this statute in such cases as
McKenna 14-CV-6064 in which defendants sought to remove a case on the grounds of maritime
jurisdiction. Relying on cases such as James Lewis v. Lewis and Clark Marine, 531 U.S. 438
(2001) this Court remanded on the grounds that state courts retain power over certain classes of
cases. While This Court has chosen to exercise its pendent jurisdiction power to retain cases the
state law claims remain to be tried alongside the maritime claims by the Court. Also see
Madruga v. Superior Court of California, 346 U.S. 556 (1934).

Thus, the negligence claim against Raytheon under both state and federal law remains
valid. This claim provides that if defendant designed its product to contain asbestos and failed to
warn it remains liable for injuries caused by its product. This Court recognized such claims in
Schwartz v. Abex, 2015 U.S. Dist Lexis 6807 (USDCEDPA 2015), under state law and in
maritime in cases such as Salisbury 2014 U.S. Dist Lexis 11295 (USDCEDPA 2014). Other
Courts have interpreted Salisbury as allowing plaintiff to proceed on negligence even when the
strict liability claim fails see Quirin v. Lorillard, 17 F. Supp 3.d 760 (USDCNDILL 2014).
Raytheon knew, should or could have known that asbestos was hazardous. As Dr. Frank notes in

his affidavit the knowledge that asbestos was hazardous was widespread throughout the scientific

community for many years (Exhibit I). Raytheon’s founder was later dean of MIT’s School of
Engineering (Exhibit J), Thus Raytheon had easy access from the beginning to all the scientific
knowledge discussed by Dr. Frank. It should have acted to prevent injury in its designs and warn
but failed to do either. Thus, under either maritime or state law it breached its duty to warn. On
negligence whether in maritime or state law Restatement of Torts 2"4 388 provides that a
defendant can be held liable if it knew or should have known of the hazards Gresik v. PA
Partners LP, 33 A.3d 594 (Pa. 2011) (Pennsylvania) Norfolk Shipbuilding & Drydock v. Garris,
532 US 811 (2000), Fisher v. Foster Wheeler, 994 F. Supp 2.d 679 (ED PA 2014), East River
Steam Ship v. Transamerica DeLaval, 476 U.S. 858 (1986), Kermarec v. Compagnie
Transatlantique 358 U.S. 625 (1939)(Maritime). The Court, in denying plaintiff's motion to
remand herein stated that plaintiff had created a jury question on the government
contractors/specification defense.

On the government specifications defense Raytheon proffers no support for its claims.

By contrast plaintiff, through his expert, Faherty (Exhibit F) relies on specific Navy requirements
for warnings which Raytheon failed to obey. At least one Court has rejected Raytheon’s defenses
on this point. See Hilbert v. McDonnell Douglas, 07 CV 11900(>USDCMASS 2008). This Court
in denying plaintiff's motion for summary judgment in Carper and motion to remand in this case
specifically ruled that a jury question existed on the issue of government specifications.

As to strict liability under maritime the Court’s views are clear although erroneous and
contrary to the requirements to protect seamen see Moragne v. State Marine Lines, 398 U.S. 375
(1970) discussion by Circuit Judge, Later Supreme Court Justice Story in Hurden v. Gordon, 111
F. Case 480 (D Maine 1823).

As to the state law the Court, in its Schwartz opinion rejected its own ruling in Hoffeditz
2011 U.S. Dist Lexis 110282 (USDCEDPA) and ignored the holding of Burbage v. Boiler
Engineering, 249 A.2d 563 (1969) .In that case the Supreme Court of Pennsylvania reviewed a
case similar to this one. In Burbage a valve had been replaced on a boiler. The replacement
valve which was not supplied by the boiler defendant malfunctioned caused injury. The Supreme
Court upheld plaintiff's verdict against the boiler company on the grounds that from plaintiff's
perspective it was defendant’s boiler. The Court’s Schwartz opinion disregards Burbage and
should be rethought in light of Burbage. It still allows the negligence claim to proceed. Bare
metal is not a recognized defense in negligence in any event. Raytheon could have known of the
hazards yet failed to warn despite the Navy’s. The motion should be denied.

PAUL, REICH & MYERS, P.C.

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ROBERT E. PAUL
 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
CIVIL SECTION: TRIAL DIVISION

 

 

CALVIN DAMON and ; CIVIL ACTION
ROSEANNE DAMON, h/w :
vs. | NO. 14-CV-1954
AIREON MANUFACTURING CORP., et al. : ASBESTOS CASE
ORDER
AND NOW, to wit, this day of , 2015, the Answer to

Motion for Summary Judgment of Raytheon is hereby Denied.

BY THE COURT:
CERTIFICATE OF SERVICE
I, Robert E. Paul, Esquire, hereby certify that a true and correct copy of Plaintiff's Answer
to Motion of Raytheon has been filed electronically. This document is available for viewing and

downloading from the ECF system as was served upon all counsel of record.

Lobt £ fo!

Robert E. Paul

 

Date: diiyuA- If 2015
EXHIBIT A
  

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IN THE COURT OF COMMON PLEAS
OF PHILADELPHIA COUNTY
CIVIL SECTION: TRIAL DIVISION

CALVIN DAMON and : EEBRUARY TERM, 2014
ROSEANNE DAMON, h/w

VS.

AITREON MANUFACTURING
CORP., et al. > NO. 2955

FRIDAY, APRIL 4, 2014
VOLUME I

Oral deposition of CALVIN
DAMON, was held at the Hotel Fauchere, 401

Broad Street, Milford, Pennsylvania,

commencing at 9:34 a.m., on the above date,

before Deborah A. Brazukas, a Registered
Professional Reporter, Certified Shorthand

Reporter of New Jersey, License No. XI 01938,
and Notary Public.

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the question -- how you
have to answer it the way

bly -- I think -- I believe
Ss our first deployment out to

it type of work did you do,
king, to operate the radar

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have the answer read back, please.
(Whereupon, the court reporter
read back the record as requested.)
BY MS. McCORMACK:
Q. _ Where was this machinery located
on the ship?
A. There was -- there was -- major
part of the machinery that I just talked
about was in the CIC room, combat room, CIC.
Q. Okay. Were there parts of the
radar system that were somewhere other than
the combat -- or the CIC room?
A. There was -- yes, there were
the -- the power supply was in a different
area, adjacent to the CIC room. Then there
was some component areas one deck above the
CIC room.
Q. Was there anything else in the
CIC room besides the radar equipment?
A. Status boards, DRT tables.
Q. Are you able to estimate for me
how big the CIC room was on the Champlain?
A. _ Forty by 40, 40 by 30.

 

 

ma | f°

You would sit in front of the
tope and track paints or -- they call
blips or paints on the scope. And that
indicate the direction of the fleet,
her vehicle -- any other vessels that
pproaching or that would have a impact

  

 
   
 

Katy. You also indicated you
some of this machinery?

type of -- what machinery
tring to?

  
  

call it a pomsey brush,
tbrush, It was about an

Page 75

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Page 77
Q. Is that your best estimate at
this point?
A. Yes.

Q. Do you recall the manufacturer of
any of the radar equipment on the Champlain?
A. There was so many things that |
was learning as -- | was 17 years old. It
was the first time out of the house, So
everything was a new experience. There were
things that you would see that I've never
seen before. And I remember there was tubes,
and I remember Philco tubes, I remember
Westinghouse. I remember --
DEFENSE COUNSEL: Can we have
the answer read back, please.
MS. McCORMACK: Can he finish
his answer first, please.
Go ahead, sir.
DEFENSE COUNSEL: We're losing
audio, just so that you guys know.
BY MS. McCORMACK:
Q. Okay. Can you finish your
answer, sit?
A. _ There was the -- Philco I believe

 

 

 

   

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(Pages 74 to 77)

  
 
 
 
 
 
 
 
 
  
  
    
    

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> IN THE UNITED STATES DISTRICT COURT
9 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
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_—— | ~~ CALVIN DAMON and

* ROSEANNE DAMON, h/w

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¢ & JF AIREON MANUFACTURING

& © B 8 corp., et al. > NO. 14-cv-01954-ER

THURSDAY, APRIL 17, 2014.

VOLUME I1

Continued oral deposition of

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“CALVIN DAMON, was held at the Hotel Fauchere,

401 Broad Street, Milford, Pennsylvania,

-" commencing at 10:32 a.m., on the above date,

MA

_ before Deborah A. Brazukas, a Registered

| Professional Reporter, Certified Shorthand

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£ 2 : | Reporter of New Jersey, License No. Xl 01938,
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Page 118

 
 
   
  
 
 
 
 
  
 
 
 
 
 
 
 
  
  

you bring uP 4 really good
‘asking you questions about
appened many, many, many years
ink | heard you say that you

t -- the answer I was looking
oking for a particular

ask questions and

5

re"
OW MIAN PWNE

Page 120

I'm looking for. I just want you to tell me
what you recall or what you know. That's
all.

Okay. So --

MR. PRESENT: I object to that
as well, because I think you're looking
for an answer that helps you.

MR. SMITH: Well, I'm looking
for an answer that would be his best
estimate. Now, if he doesn't have that

 

 
  
  
 
 
  
  
 
  
  
 
  
  
  
 
  
 
  
 
  

 

 

11 answer, then I'll move on. And I'm
you don't remember, that's 12 moving on.
or an estimate and you say 13 BY MR. SMITH:
nk of one that's reasonable in 14 Q. Sir, when you -- when you were
. 15 operating a radar --
16 A. Yes.
nn please don't give me one. 17 Q. -- you only came in contact with
efinitely don't want you to 18 metal and plastic and rubber. Is there any
iknow, and try to guess. We 19 other materials that you can think of?
gure out what you remember, 20 A. No. That's basically it.
21 Q. Okay.
PRESENT: Objection. This 22 A. You know, cop -- you know,
slained to him at the very 23 basically the internal part of the machine.
the deposition. You were 24 Q. Let's leave that aside. I'm
Page 119 Page 121
t that instruction that was 1 talking about just the actual sitting down on
Carolyn McCormack. So I object > the radar screen and doing the functions --
itious nature of this. This 3 A. Metal box.
ssarily prolonging this 4 _ of the CIC.
and costing all these 5 A. Metal box.
ents a lot more money. 6 _ Okay. And another thing that we
R. SMITH: Well, counsel, if 7 have to be careful of is speaking over each
amy objection, what I said 8 other, because the court reporter can only
aid to me, what is the answer 9 type one of us at one time.
ooking for. Now, that says 10 So a metal box. And then if!
he did not understand the first 11 heard you right, you said the work that --
so I'm just repeating that. 12. the items that you would work on were the
RESENT: Well, that 13 scopes, the ECM, you did work in the
he doesn't remember. That 14 auxiliary room where the big boards were
oesn't understand. But I can 15 powered from?
id why he doesn't understand your 16 A. Right.
s, because some of them are 7 Q. You worked on the radar in the
Tor me to understand, and I'm a 18 front coms?
19 A. Right. Con.
HX. SMITH: Sounds good. 20 Q. What?
Th TH: 21 A. Con. Con, not com.
is I'm -- but basically the 22 Q. Con, okay.
nee. Irying to make is we're just 23 And then -- and then I think I
=i not -- there is no answer that 24 heard you say on con on level — well, strike

 

 

  

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31 (Pages 118 to 121)

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Page 268

Page 270

 

 

 

al Q. Were these done through A to Z 1 A. I think the morning that I came

2 or-- 2 here or the night before. I'm not sure.

3 A. Yes. 3 Q. Okay. And had you gone through

4 Q.  -- did you do them on your own? 4 and initialed a couple companies on there?

5 A. J would -- I think Tiffany's was 5 A. Yes.

6 done through A to Z. And Cheryl's was done 6 Q. Why did you do that?

7 through Homes of Distinction, part of Homes ui A. Well, some -- some of the names

8 of Distinction. 8 that -- Iremember. And some of the names,

9 Q. Would -- before the homes were 9 when I was looking at that, were the names
10 constructed, were these empty lots or was 10 that popped back out of my mind. And -- and
11 there -- 11  Idon't know who's going to object or who's
12 A. Yes. 12 not --
13 Q. --aproperty -- or was there a 13 MR. PRESENT: Don't worry about
14 building on there that needed to be torn 14 that. Just tell them.
15 down? 15 THE WITNESS: I don't care.
16 A. Empty lots. 16 MR. PRESENT: Just answer the
17 Q. Okay. Were you present for the iy question.
18 construction of either Chery! or Tiffany's 18 THE WITNESS: When I -- I left
19 home? 19 high school, I was not that educated.
20 A. Yes, I was. 20 The only thing I was able to do was
21 Q. Were you exposed to 21 communicate somewhat. Certain names, I
22 _asbestos-containing products during the 22 couldn't even pronounce. I couldn't -- I
23 construction of either Chery! or Tiffany's 23 didn't know how to pronounce them. So
24 home? 24 certain names stuck into my head and into

Page 269 Page 271

1 A. No. il my mind.

2 Q. I want to talk to you about one 2 So when I was reviewing the

3 of the documents that you referenced during 3 list, certain names came back that I

4 the first day of your deposition that you had 4 remember that -- you know, that I could

5 _ said you had looked at, which was the caption 5 pronounce or that I was able to.

6 of the Complaint. 6 MS. McCORMACK: Okay.

7 A. If that's what you call it, yes. 7 THE WITNESS: So that's why

8 Q. And I'll just briefly show you my 8 they jogged my mind.

9 copy, so in all fairness you have a copy in 9 BY MS. McCORMACK:
10 front of you. 10 Q. Okay. And I'm going to ask you
11 And I don't know that there's 11 about one of the companies on there. One of
12 that much for you to read on here. But just 12 the companies that you initialed was Raytheon
13 so you know what document I'm talking about. 13 Company?
14 MR. PRESENT: Has that been 14 —A-—¥es-—
15 marked Exhibit 1? 15 Q. Did you only -- tell me why you
16 Okay, good. 16 initialed that name.
17 THE WITNESS: Yes. It looks 17 A. Because that's a name that was so
18 familiar. 18 unknown to me. So when | was in the service,
19 BY MS. McCORMACK: 19 that was a name that I wanted to -- I saw and
20 Q. Okay. I'm just going to ask you 20 it stuck out in my mind.
21  acouple questions about that. 21 Q. Are you able to associate that
22 A. Okay. 22 name with any ship that you were on?
23 Q. Do you recall when you first saw 23 A, The Lake Champlain would be-
24 ~~ that? 24___the..——_—_—_—_—

 

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(Pages 268 to 271)

LEGAL SERVICES

 
 

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Page 274

 

 

1 Q. Are you able to associate that 1 But you can answer.
2 name with any product? 2 THE WITNESS: I -- I don't know
3 A.  I--I saw it in a -- the housing 3 every product that I was exposed to had
4 of the scope;-of the fadarscope, I believe. _ 4 or had not asbestos. I am quite
5 Q. Okay. I'mjust going to follow 5 confident that most of the materials used
6  uponthat. You said I believe. Do you know 6 aboard a lake -- the Lake Champlain or —
7 if you saw it in the scope of the radar, the 7 any-other ship manufactured-in-the '40s
8 housing of the radarscope? Do you -- 8 had asbestos. And most of the products
9 A. I believe -- I have to say I 9 that were to prevent heat loss or control
10 believe that's where-I saw it-or-in—-in-one—. 10 heat had asbestos in them. I believe the
11 of the components of the ECM room, which we 11 Raytheon was on a -- the back of the unit
12  spoke-about. 12 whet they-teokit-apart—To-tell-you— ~
13 Q. Do you know which component? 13 exactly where it was, tcould-not,——-
14 A. I'm trying to take my mind back 14 MS. RIECHELSON: Move to strike
15 to those years. 15 the nonresponsive portions.
16 No, I can't. I can't exactly 16 MR. KATTNER: Speculative; lack
17 put -- pinpoint which component. 17 of foundation.
18 Q. Allright. Now, I just -- I 18 MR. SMITH: Yes.
19 missed this. I just want to clarify this. 19 MR. PRESENT: Don't worry about
20 Do you think it was in the radarscope or the 20 what they're saying. Just answer the
21 component of the ECM room or both or you're 21 questions.
22 just not sure? 22 BY MS.McCORMACK:
23 A. I'mnot sure. I just know that's 23 Q. Did you take this piece of
24 one of the names I remember. 24 equipment apart, or did someone around you do
Page 273 Page 275
1 Q. Okay. Since you recognize the 1 that?
2 name, but you can't necessarily associate it 2 A. Asan E-4, we were able to
3. with a particular product, would you agree 3 completely disassemble the equipment. As an
4 with me that you cannot associate any of your 4 -3, we were learning how. So as an E-3 and
5 exposure to asbestos-containing products with 5  E-4, I was around the scopes and the -- well,
6 Raytheon? 6 I wasn't in the ECM room until I was an E-4,
7 MR. PRESENT: Objection. 7 but -- so yes.
8 But you can answer. 8 Q. Okay. You said you thought you
9 THE WITNESS: I'm not exactly 9 may have seen the name Raytheon on the back
10 sure what your question is. 10 of the unit. How was -- how did the name
11 BY MS.McCORMACK: 11. appear?
12 Q. Okay. I can repeat it. Thank 12 A. How did it appear? It would have
13 you for letting me know. 13 to be printed on it somewhere for me fo~
14 You told me you know the name 14 recognize the name or -- that -- that would
15 Raytheon, correct? 15 _ be it. I'd have to say that.
16 A. Yes. 16 Q. Do you recall if it was directly
17 Q. You're not sure what product you 17 _ printed on the equipment itself, if it was on
18 associate the name with, correct? 18 aname plate, if it was on a sticker or
19 A. Yes, I'm not a hundred percent 19 anything of that nature?
20 positive. 20 A.  I'mnot sure. Because I remember
21 Q. And since you're not sure what 21 asking one of the guys I was with how to
22 the product is, you can't tell me if that 22. pronounce it. So I'm -- it was written
23 product contained asbestos, correct? 23 somewhere, but I can't tell you where.
24 MR. PRESENT: Objection. 24 Q. Do you recall who you asked how

 

 

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(Pages 272 to 275)

LEGAL SERVICES

 
 

 

 

 

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1 to pronounce the name? Hl A. Yes.
2 A. I think it was John Greer. We 2 Q. Any replacement parts were -- did
3 used to call him Rosie. 3 you just obtain them from the Naval
4 Q. I'm sorry, what was his last 4  storeroom?
5 name? 3 A. Yes.
6 A. Greer. 6 Q. Did you personally ever order any
7 Q. Thank you. That should have been 7 materials from Raytheon?
8 clear to me. 8 A. No.
9 MR. PRESENT: That's G-R-E-E-R, 9 Q. Okay. Were all these repairs
10 Greer. 10. done or this maintenance done while you were
11 BYMS. McCORMACK: 11. out at sea? And I'm talking particular to
12 Q. Were you around this equipment 12 the -- what you believe to be the Raytheon
13 just one time when it was being taken apart 13 equipment.
14 to the best of your -- 14 A. Repairs were done when we were in
15 A. I know you have to answer -- ask 15 port, you know, when -- we normally didn't
16 these questions. Every time we took apart 16 operate an exercise more than 30 days. I
17 equipment. And we serviced equipment at 17 think the longest exercise we operated was 45
18 least once a month. So I -- that's the best 18 days. So the maintenance on most of the
19 answer I could give you. 19 equipment was done on a 30-day cycle. Scope
20 Q. Did you ever see any manuals from 20 one, scope two, scope three, scope four,
21 Raytheon for this component part? 21. whatever had to be done, had to be done. But
22 A. No. 22 it was normally done on a 30-day cycle. So
23 Q. Did you ever see anything for 23 to answer your question, at sea, we were not
24 this component part specifying the use of 24 at our home port in Quonset Point, Rhode
Page 277 Page 279
1 asbestos-containing products? 1 Island. We were deployed from that point.
2 A. No. 2 So any point after that -- leaving Quonset
3 Q. Did you ever speak with anyone 3 Point was at sea. But we were not at our
4 from Raytheon? 4 home port. And I think I -- hopefully I'm
5 A. (The witness shakes head.) 5 answering your question correctly.
6 Q. Is that a no? 6 Q. Youare. But don't worry about
7 A. No. Unless they were in 7 whether you're making me happy with the -- if
8 disguise. 8 it's the answer I'm looking for.
9 Q. Do you have any reason to believe 9 A. I'm not trying to make you happy.
10 they were there in disguise? 10 I'm trying to answer your question.
11 A. No. 11 Q. Do you associate any product
12 Q. And any repairs done to this 12 number or any designation with this Raytheon
13 equipment were done under the direction of 13 component part?
14 your superior officers, correct? 14 A. No.
15 A. Repeat the question. 15 Q. And I'm just going to ask you,
16 Q. Absolutely. 16 just because we've been talking about it a
ii Any repairs or maintenance you 17 little bit, do you have any recollection now
18 would have done to this component part, they 18 as to what component part it may have been
19 were done under the direction of your 19 that you associate with Raytheon?
20 superior officers, correct? 20 A. -UntessTsat down and tealtly—
21 A. Petty officers, not officers. 21 tried to pull apart. a scope-for=-I-couldn't
22 They were higher ranking enlisted men. 22 tell you. I'd have to sit and try to go over
23 Q. And these repairs or replacements 23 what I did and -- and everything. AndI
24 were done according to Navy specifications? 24 really can't. I don't -- unless you want to

 

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(Pages 276 to 279)

LEGAL SERVICES

 
 

 

 

 

 
  
   
  
  

  
 

 

—— Page 280 Page 282
[
“Bake 9. We're not trying to do that 2 Q. Okay. Just as a general idea,
Thi gt red since we were jogging your 3 were you in other parts of the ship? Like
be I ould take another shot, but -- 4 — were you in, you know, a room or a -- where
anh im trying to go through 5 you slept, in the mess hall where you ate,
atitems in my head. . 6 and in other areas of the ship as well?
_ MS: McCORMACK: All right. ui A. Yes.
“Damon, I'm going to take a look at my 8 Q. Would you say at one time or
les. | think right now those may be 9 another that you traveled, let's say for the
questions I have. I will take a look 10 Independence, the entire ship?
ny notes. And if] have anything 11 DEFENSE COUNSEL: Objection to
SL will ask you. I will come back 12 form; leading.
fo ask you some more questions about 13 MR. SMITH: Objection;
fr medical history after everyone else 14 overbroad.
had an opportunity to ask you some 15 BY MR. PRESENT:
stions. 16 Q. Goahead. You can answer.
| THE WITNESS: Okay. 17 A. The Lake Champlain and the
MS. McCORMACK: Thank you very 18 Independence or just the Independence?
bh for your time. 19 Q. Just the Independence for now.
_ MR. PRESENT: I have a couple 20 A. Pretty much, yes.
Stions I'm going to ask just on one 21 Q. Okay. And would the same be true
Ps But I'm going to do that not now 22 on the Lake Champlain?
when you're done. Do you need a 23 A. *—Yes>
S Of water or are you good? 24 MR. SCHEETS: Same objection.
iz Page 281 Page 283
c...
“THE WITNESS: I'm good. 1 MS. McCORMACK: Objection to
oo+-- 2 form.
' EXAMINATION 3 MR. SMITH: Objection; leading;
4 lacks foundation; calls for speculation;
» PRESENT: 5 overbroad as to time.
Anyway, can you hear me okay? 6 MR. PRESENT: Thank you.
‘Yes, I can. 7 BY MR. PRESENT:
All Tight. I just want to focus 8 Q. Anyway, with respect to the --
time on the ships, on the 9 — your time in the radar room, you spoke with
ence and the Champlain. 10. Ms. McCormack about taking apart-scopes and
Yes, 11 seeing’the name Raytheon. Do you recall that
With respect to your time on both 12 testimony now? It was just recently.
Ships -- and J think this has 13 A. Yes.
pee M gone over, but I just want to 14 _—-MS.McCORMACK: Objection to
HE alittle bit. And hopefully no 15 form, ;
JECL IO this, since it's been 16” BY MR. PRESENT: F
airly conclusively, But would ALT Q. Okay. With respect to the
| ee Most of your time on both ” “| 18 Independence, can you give me some idea how
BS Was spent in the radaresom ( 19 — often you would be either working on a scope
Mis Moakine?-ts that correct? “| 20 — or in the vicinity of someone else working on
i, id CCORMACK:- Obj ection to 21° ~ascope where you would see the name Raytheon
THE ITN 22 _ over the course of your time on the
nk - a. ESS: When I was 23 Independence? =
i — 24 MS. McCORMACK: Objection;

 

 

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1 leading; foundation; misstates prior 1 Q. Go ahead. You can answer.
2 testimony. 2 A. Yes.
3 MR. SMITH: Overbroad. 3 Q. Okay. And when this dust was
4 BY MR. PRESENT: 4  there;did-it come out-of the same vicinity
5 Q. Goahead. You can answer. Thank 5 where you saw that name? OR
6 you. Go ahead. You can answer. 6 MR. SMITH: Same objection.
7 A. When -~ after a scope was opened. 7 MS. McCORMACK: Objection.
8 there were -= 1f you were the designated 8 THE WITNESS: Yes.
9 petty officer or seaman that would assist, 9 BY MR. PRESENT:
10 scopes were opened I -- every 30 days, but 10 Q. Okay. And when the dust was --
11 there were so many scopes, products that were 11 was -- when the dust came out of that area,
12 opened were opened possibly once every three 12 where would it go?
13 or four days, you know, with a malfunction or 13 MR. SMITH: Objection; lacks
14 something like that. Buta total 14 foundation; calls for speculation, expert
15 dismemberment of -- dismantling of a -- of a 15 opinion.
16 scope, we never totally dismantled it. We 16 MS. McCORMACK: Objection.
17 took the front panels off, reworked it, 17 THE WITNESS: It -- it would --
18 dusted it, and everything else. So probably, 18 when you opened up the scope, if you shut
19 of the 30-day scheduled maintenance that ng the fans off prior to opening, which was
20 it -- one scope was shut down, but there was 20 part of what you had to do, the -- when
21 preliminary -- partial work done on scopes 21 you opened it, the -- the air that was
22 almost So8t Sey Wat See ae neaae 22 coming in, because they were primarily
23 ~ whatever. 23 sealed units, fairly tight, they had
24 —Q. Okay. And -- 24 gaskets on, everything would just come
Page 285 Page 287
1 MR. SMITH: Respectfully move 1 out of it. And it would go to where --
2 to strike nonresponsive portions and 2 you know, in our faces, up in the air.
3 portions lacking in foundation and based 3 If we didn't have a vacuum cleaner to --
4 on speculation. 4 you know, that's one of the other things
5 BY MR. PRESENT: 3 we did was vacuum it down.
6 Q. Don't worry about that. 6 MR. PRESENT: Okay.
tj But leaving that aside, what 7 THE WITNESS: Initially, when
8 he said -- and he's probably going to object 8 you opened it, everything came out.
9 to every question I ask, even though there's 9 BY MR. PRESENT:
10 only been, in the State of Pennsy lvania, 10 Q.——When the dust went into the air_—
11 believe it or not, five reversals on 11 = and in-your-face, would that _have-any-effect
12 evidentiary grounds since I've been a lawyer, 12 on your respiratory system or your /
13 which has been, you know, at least ten years, 13 breathing --
14 maybe longer. 14 MS. McCORMACK: Objection.
15 Anyway, so what I want to know 15 MR. SMITH: Objection.
16 at this juncture is, when you would open 16 MR. PRESENT: -- at all?
17. these scopes where you saw the name Raytheon, 17 MR. SMITH: Vague; ambiguous;
18 you talked about this process of dusting them 18 overbroad.
19 out; woutd = would this happen each time one 19 BY MR. PRESENT:
20 of those scopes were opened up?— —_ 20 Q. Goahead. You can answer.
21 —~MS. McCORMACK: Objection. 21 A. When any dust or debris comes
22 MR. SMITH: Objection; vague 22 into your nose or mouth, you do breathe --
23 ambiguous; overbroad. 23 gag, cough so...
24 BY MR. PRESENT: 24 MR. SMITH: Leading objection;

 

 

 

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(Pages 284 to 287)

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1 lacks foundation; calls for speculation; i 4 MR. PRESENT: J get it.
2 move to strike as nonresponsive. 2 “THE WITNESS: So yes, every
3. BY MR. PRESENT: 3 fie something was opened, myself or
4 Q. And regardless of whether you 4 anyone that was on duty at that point in
5 were on -- regardless of whether you were on 5 \ time inhaled the dust. an
6 the -- 6 BY, MR: PRESENT: =.
7 (Whereupon, there was a brief 7 ‘Q. Okay. And if we were to -- if 1 ,
8 interruption.) 8 /were to ask you the same questions about
9 (Whereupon, there was a 9 / Raytheon and this various activity of taking |
10 discussion held off the record.) 10/ apart scopes in terms of its frequency and /
11 BY MR. PRESENT: 11| its effect on the air, would your answers be
12 Q. Anyway, when you would -- when 12\ the same for the Champlain that they are for
13 you would, you know, do this, you know, 13 “the Independence?
14  take-apart thing with-ascope-and-saw-the- 14 \ MS. McCORMACK: Objection.
15 name Raytheon, would this dust that you've 15 ~ MR. SMITH: Same objections.
16 been speaking of, would that be in-the. air 16 BY MR. PRESENT:
17 and in your-face-each time that you would _ 17 Q. Go ahead. You can answer.
18 either -- when you-would -- -- each time that 18 Yes. o—
19 you would work on that area? 19 /£Q. Atany time when you would look
20 MS. McCORMACK: Objection; 20 / at any of the Raytheon name on -- on this
21 leading; lack of foundation. 21/ equipment, when the scopes were being take
22 MR. SMITH: Objection. 22{ apart, and dust and such, did you ever see
23 BY MR. PRESENT: 23\_ any kind of, you know, big bold warning or/
24 Q. Would that happen each time? 24 ~skull and cross bones that said, be careful, |
Page 289 XQ "Es 291
1 A. Yes. 1 dust from this item or from this area could
2 Q. And how about if you weren't 2 potentially cause cancer and is hazardous to
3 working on it but one of your colleagues, 3 your health? Did you ever see anything like
4 another E-4 or whatever would be working on 4 that on there?
5 it, would you also have -- would the dust 5 A. No.
6 also have an affect on you when you were in 6 MS. McCORMACK: Objection to
7 the vicinity of someone else doing that job? 7 form.
8 MS. McCORMACK: Same 8 MR. SMITH: Vague and
9 objections. 9 ambiguous; overbroad.
10 MR. SMITH: Objection; vague; 10 THE WITNESS: The only warnings
11 ambiguous; overbroad; lack of foundation; 11 that were on --
12 calls for speculation, expert opinion. 12 MR. PRESENT: I --
13 THE WITNESS: I have to clarify 13 THE WITNESS: Okay.
14 what I'm saying. You're in an area 14 BY MR. PRESENT:
15 that's no bigger than this room. 15 Q.  Inany event, did you see any
16 MR. PRESENT: Okay. 16 warnings telling you that you could get lung
iF THE WITNESS: When anything 17. cancer from that dust? That's what I want to
18 happened, there was no windows. Now, 18 know.
19 we're in the midship. There's no 19 A. No.
20 ventilation other than what's in there 20 Q. Okay.
21 and it's recycled air. So if you open 21 MS. McCORMACK: Objection to
22 something back by that window, which was 22 form.
23 20 or 30 feet, it was contained in the 23 MR. SMITH: Same objections,
24 same area that you were working. 24 plus leading.

 

 

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(Pages 288 to 291)

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1 BY MR. PRESENT: 1 you remove it, you -- as a 17, 18, 19
2 Q. Just give me a moment, Mr. Damon. 2 year old person, there's all the wire and
3 You -- when you talked about 3 the tubes and the gaskets and -- and
4 opening up these scopes and seeing the -- or 4 there was some air filters on it. There
5 recalling seeing the name Raytheon, earlier 5 was fans. So when you opened it, you saw
6 you had mentioned, when you were discussing 6 everything that was there.
7 this either with Ms. McCormack or myself, 7 MR. PRESENT: Okay.
8 that you -- when you would open that up, you 8 THE WITNESS: You know, you
9 would see materials such as gaskets and thus 9 were looking at a -- the top of it looked
10 and such, Do you L. 10 like a TV tube. And then it came down
11 MR. SMITH: Assumes facts not 11 and there was your tubes and your wires
12 in evidence; misstates testimony. 12 and your gaskets. And -- and you
13 THE WITNESS:_Yes._ 13 sealed -- if you had a leak, you could --
14 BY MR. PRESENT: 14 the ground dust would create
15 Q. Okay.-Was it ever your job or_ 15 contamination in the unit, so you had to
16 anyone else's job that was with you to either 16 repair it. Anything that was wrong when
17 alter or féplace those gaskets that you saw 17 you serviced, you checked everything.
18 when you.opened up that equipment? 18 MR. PRESENT: Okay.
19 MS. McCORMACK: Objection. 19 MR. SMITH: Objection; move to
20 THE WITNESS: Yes. 20 strike the portions -- nonresponsive
21 MR. SMITH: Leading. 21 portions.
22 BY MR. PRESENT: 22 MR. PRESENT: All right. And I
23 Q. __And-was-that all part of this- Sc 23 appreciate your taking the time to answer
24 same area where you saw the name Raytheon? 24 my questions as well. I may have some
Page 293 Page 295
wl MR. SMITH: Leading. il others at some point in the future.
2 THE WITNESS;_Yes, 2 Ms. McCormack may have a few more, based
3. BY MR. PRESENT: 3 on my questions. But I appreciate your
4 Q. Okay. Can I just ask you one 4 cooperation and your time.
5 question, and you may or may not be able to 5 THE WITNESS: Can I take five?
6  dothis. But I want to take you back in time 6 MS. McCORMACK: That was going
7 to where you're at -- you know, in the radar 7 to be my first question, did you need a
8 room, pulling apart-for-maintenance-or-repair 8 break. Absolutely.
9 one ofthese scopes, seeing the name __ 9 (Whereupon, a brief recess was
10 Raytheon, seein skets, seeing the dust 10 _—takenr.
11 that you've describe ou able fo tell 11 x sit i
12  usas@ group what else you remember seeing 12 EXAMINATION
13. in that area? Is there anything else that 13 ---
14 youcan describe for me? 14 BY MS.McCORMACK:
15 MR. SMITH: Objection. 15 Q. Mr. Damon, I just have a few
16 MS. McCORMACK: Objection. 16 follow-ups on Mr. Present's questions.
17 MR. SMITH: Leading; vague; 7 Am I correct that you told me
18 ambiguous; overbroad; asked and answered. 18 before you only recall the Raytheon name in
19 MR. PRESENT: Go ahead. It's a 19 connection with the Lake Champlain?
20 perfect question, so he can answer it. 20 A. The most --
21 MR. SMITH: Calls for 21 Q. Or are you not sure what ship?
22 speculation. 27. A. 1--Iam-- 1am sure it was on
23 THE WITNESS: When you opened a 23 the Lake Champlain. I can't say I remember
24 scope or any electrical equipment, when 24 it as distinctly on the Independence.

 

 

 

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1 It's -- it -- it was -- the scopes were the Hl he recalls the Raytheon name on the
2 same. They were updated a little bit more. _ 2 Champlain and the Independence, but not
3. But none\of the components have changed rot 3 as strongly on the Independence as the
4 one/- the Lake Champlain or the 4 Lake Champlain. That's as far as we got.
5 Independence. But you're more -- as you work S DEFENSE COUNSEL: Okay, great.
6 1 these things, you're more used to the 6 Thanks. Appreciate it.
7 omponents. So you don't look at the 7 BY MS.McCORMACK:
8 {components as startling as they were when -- 8 Q. You don't know what the component
9 \the first time I opened these things and was 9 part is that you associate with Raytheon,
10 dazed by.the complexity of one of these 10 correct?
11 things at VR, 18 years old. Then it just | 11 A. It was on the -- as I'm thinking,
12 became second nature, you did this, you did YO 12 as youask me to recall, I -- to the best of
13 _ that so.. ZZ 13 my recollection, it was on the plate of
14 Q. “Okay. So it's fair to say you 14 the -- the removal plate. So it was ™
15 recall the name Raytheon on the _ Lake 15  somewhere-on the plate itself, the -- the_
16 Champlain? = 16 front, the side, the back. Tr was on 4
17 A. Yes——— 17 plate.
18 Q.° And on the Independence you're 18 Q. And when you say the plate, what
19 not sure? 19 are you referring to?
20 A. |-~I'm-=- yeah, J -- I have to 20 A. It's the cover.
21 say yes, because they were -- you know;-it 21 Q. Just the cover?
22 was -- did it stick out -- like I said 22 A. It's the front, it's the back,
23 briefly, did it stick out? No. But it was 23 _ it's the side, the plates.
24 there. It was the same components. So I -- 24 Q. Okay. And you don't recall which
Page 297 Page 299
1 I'm saying yes, that it was on both ships. 1 plate it was?
2 Q. Okay. And you don't recall which 2 A. No.
3. component it was on either ship, correct? 3 Q. Okay. And you only removed and
4 (Whereupon, there was a brief 4 replaced the component parts, correct? You
5 interruption.) 5 did not open and repair any of the internal
6 THE WITNESS: I'm sorry. 6 parts in a component part, correct?
7 MS. McCORMACK: Do you want me 7 A. No. IfI'm -- understood your
8 to ask the question again? 8 question correctly, when you take apart the
9 THE WITNESS: Yes, please. 9 scopes you== ff you -- if you're working on
10 BY MS.McCORMACK: 10 the front part, you're taking off the front.
1i Q. __You do not recall the component 11 When you're working on the rear part, you
12 part for -- that yourasseeiate-with Raythe eon 12 take off the rear. And you're working on
13 oneither ship, correct? ————~ 13. everything inside the scope itself.
14 A. The exact component, I would -- 14 Q. Okay. And I -- you told us the
15 I'm trying -- 15 other day you did not have any training in
16 DEFENSE COUNSEL: Can we 16 repairing or replacing the internal --
17 interrupt you. We have been missing the 17 A. AsanE--
18 last two minutes of testimony. 18 Q. -- internals of the component
19 Can you hear me? 19 parts?
20 MS. McCORMACK: We can hear 20 A. 1 was on-the-job training as an
21 you. 21  E-3, working alongside an E-4 and E-5. I
22 DEFENSE COUNSEL: Can the 22 didn't go to a A school, a radar A school.
23 reporter just read back since the break? 23 Q. And Mr. Present talked to you a
24 MS. McCORMACK: Since the break 24 bunch about some dust that you associated

 

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18 (Pages 296 to 299)

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Page 300 Page 302
1 with the inside of these component parts. Do 1 like focus on the point that -- at the
2 you know the composition of any of that dust? 2 questioning where Ms. McCormack was asking
3 MR. SMITH: Asked and answered. 3 you about dust. But when she asked you about
4 THE WITNESS: Dust. 4 the dust, she said to you, Mr. Damon, you
5 BY MS.McCORMACK: 5 can't really tell me what the component parts
6 Q. Okay. But you don't know what 6 of the dust was. Do you remember her asking
7 the dust was -- was made of, correct? 7 you that?
8 A. It would be an assumption on my 8 A. Yes.
9 part. 9 Q. Okay.
10 Q. Okay. And you mentioned you saw 10 MS. McCORMACK: Objection to
11. the name Raytheon on the -- one of the 11 form.
12 plates. How big was the name? 12. BY MR. PRESENT:
13 A. Approximately two inches. 13 / Q. The dust that you saw, was that
14 Q. Was it in block print? Was it in 14( dust only visible when the -- the area was
15 cursive, capital letters, small letters? 15 \ opened and the -- you know, the front was
16 A. I was thinking of that when you 16  \taken off the -- the equipment in order to do
17 just said it, when the other attorney asked 17 the maintenance or make the repairs? Is that
18 me that last week with the -- with the 18 hen the dust came out of there?
19 Philco, you know, was it block or was it 19 a MS. McCORMACK: Objection;
20 cursive. And it was just a fancy P. I would 20 misstates prior testimony; lack of
21 have to say it was, you know, bold print 21 foundation.
22 when -- to his question. I believe it was 22 THE WITNESS: Yes.
23 just print. I don't believe it was script or 23 -\MR. SMITH: Objection to form.
24 anything real fancy. 24  BY/MR. PRESENT:
Page 301 / <Paye 303
1 Q. Do you associate any color with 1 Q. Okay. And just based on what you
2 it? saw, do you believe, from what you saw,
3 A. Black. 3\__ that -- or do you know from what you saw tha
4 Q. Was there any other writing there 4 “any of the dust that emanated from the area
5 besides the word Raytheon? 5 where you saw the name Raytheon,came from
6 A. There was -- there was Raytheon; 6  whatever-was part of that equipment? L
7 then some numbers next to it. And then I u ~-MS-MeCORMACK: Objection”
8 think it repeated itself. 8 “~MR. SMITH: Objection; vague
9 Q. Do you recall any of the numbers 9 and ambiguous.
10 _ that were next to Raytheon? 10 THE WITNESS: Yes.
11 A. Zero through nine. 11 MR. PRESENT: All right.
12 MS. McCORMACK: I believe those 12 That's the only question I have then.
13 are all the questions I have at this 13 Nothing else.
14 point. Thank you very much for your 14 MS. McCORMACK: I do not have
15 time, Mr. Damon. 15 any more questions. Thank you.
16 --- 16 (Whereupon, there was a
17 EXAMINATION 17 discussion held off the record.)
18 ees 18 (Whereupon, a lunch recess was
19 BY MR. PRESENT: 19 taken.)
20 Q. Mr. Damon, I'm just going to 20 ---
21 focus for a minute in terms of my follow-up 21 EXAMINATION
22 questions to Ms. McCormack's questions on the 22 - =>
23 dust that you were talking about. She asked 23. BY MR. KATTNER:
24 you at -- and I'm just doing this to kind of 24 Q. Ready to resume, Mr. Damon?

 

 

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(Pages 300 to 303)

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IN THE UNITED STATES DISTRICT COURT

   

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CALVIN DAMON and

ROSEANNE DAMON, h/w JRIG| N A l.

VS.

AIREON MANUFACTURING

CORP.,

et al. » NO.: 14-cv-01954-ER

MONDAY, APRIL 28, 2014

Videotaped deposition of

CALVIN DAMON, was held at the Hotel Fauchere,

401 Broad Street, Milford, Pennsylvania,

commencing at 2:02 p.m., on the above date, .

pefore Deborah A. Brazukas, a Registered

Professional Reporter, Certified Shorthand

Reporter of New Jersey, License No. XI 01938,

and Notary Public.

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Page 34 Page 36
1 MR. SMITH: Okay.
2 MR. PRESENT: And it is a
3 legitimate offer. And I object to you
1 cou: frequently. 4 making that comment about me.
a long time today asking 5 MR. SMITH: Well, then you
ns. He's expecting a grandchild 6 should give me two minutes.
y: fam not going to delay this any 7 MR. PRESENT: I'm not. It's
+ er, Okay. That is my position. 8 going to take you a lot longer than two
\d I'm not changing it. 9 minutes, Mr. Smith. And I'm not delaying
MR. SMITH: Okay. Just for the 10 this for you to do legal research.
record -- il MR. SMITH: It's not legal
MR, PRESENT: Just so you 12 research.
understand. 13 MR. PRESENT: Okay, fine.
MR. SMITH: Okay. Will you let 14 Well, we're going to proceed,
me speak for once and stop -- 15 Can you read me back the last
MR. PRESENT: I have never 16 questions, please.
stopped you from speaking, 17 (Whereupon, the court reporter
MR. SMITH: Okay. Well, let's 18 read back the record as requested.)
try it one more time. Just for the 19 THE VIDEOTAPE OPERATOR: The
record, if plaintiff's counsel's offer 20 time is 2:25 p.m. We are back on the
) was actually valid, I think he could 21 record.
spare a few minutes while I look into 22 BY MR. PRESENT:
this. He's saying he can't. And that 23 Q. Mr. Damon, with respect to your
leads me to believe that he's just trying 24 — exposure in the radar room, do you happen to
Page 35 Page 37
to create a record that doesn't really 1 remember any of the names of the equipment
rely on anything in fact, 2 that you encountered while you were in the
MR. PRESENT: Well, I object to 3 radar room?
that accusation, If you don't -- if 4 MS. RIECHELSON: Objection;
you're going to enter into this 5 form.
deposition, you should have knowledge of 6 MS. McCORMACK: Objection;
the law and what works and what doesn't q form.
work. 8 MR. SMITH: Objection;
MR. SMITH: And J can't make 9 foundation; calls for speculation.
peaking objections -- | can't make 10 THE WITNESS: The names that I
Sejections that -- what is -- show me the 11 recalled was the Philco, the Bendix,
Where I can't make objections, 12 Westinghouse, and Raytheon,
OW me -- point to me a case, 13. BY MR. PRESENT:
14 Q. Okay. With respect to the
4SENT: You know what, I 15 Raytheorrequipment, d id you work on Raytheon
OW Were not going to be 16 equipment?
me rules, and I didn't 17 <—_MS. McCORMACK: Objection;
00 day. 18 form.
» +) I'm very familiar 19 THE WITNESS: The equipment
20 was -~ =-1-- 's I remember,
I'm letting you 21 was a a-oating, again Tt-wasn't
Im not going to 22 ~-&n equipment. It was a protective-type
axe your 23 thing. That's all I remember.
p24 MR. SMITH: Respectfully move

 
  
   

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10 (Pages 34 to 37)

 
   

  

‘How frequently during the two

the Champlain would you -- Lake

ain would you work on those scopes?
MS. McCORMACK: Objection to

: leading.

_ THE WITNESS: The -- the

tenance that was done on the

ment in the radar room, ECM room,

ey room,-adjacent utility Toont, was a

duled per piece of equipment just

 

 

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MR. SMITH: Objection, lacks

At!
5 foundation; calls for speciation ==~
3 THE WITNESS: Yes.
4 MR. SMITH: -- calls for expert
5 opinion.
6 THE WITNESS: Yes.
7 BY MR. PRESENT:
8 Q. And in what way did it affect the
9 atmosphere?
10 MR. SMITH: Same objections.
11 THE WITNESS: Dust, dust and
12 dust.

13 BY MR. PRESENT:
14 Q. Okay. And -- and where would

15 that dust come from? ————__————_—
16 MR. SMITH: Same objections.
la THE WITNESS: Inside the

18 equipment as it was being-opened-or,
19 removed. a
20 BY'MR>PRESENT:

21 Q. And when -- when that would

22 occur, would that have any effect on you?
23 MS. McCORMACK: Objection;
24 leading; foundation; calls for expert

 

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|
Levery 30 days. But when you had
5 pieces of equipment, 30 pieces-of—.
pment, there was basic maintenance
‘On One or more of the equipment.on a
‘basis or every other day.

At sea, they were done less
hency -- less frequent than in port,
so that « every day something was”
| done somewhere in those three

 

  
 
 
  
  
  
 
 

SMITH: Respectfully move
nonresponsive portions.
aa TNESS: I'm sorry.

rk that you did on on that
8 ffect theatmosph ere in

 
  
  
 
 

 

Page 41

1 testimony.

2 ~ MR. SMITH: Same objections.

3 THE WITNESS: Yes. Inhaling

4 any dust or debris has an effect on you,

5 coughs. And you wave your hand to get it

6 away from you.

7 MR. PRESENT:

8 Q. Okay. And with respect to that, ——|
was that a situation that occurred each and )

0 every time you worked on a piece of equipment

11 that you associated with the name Raytheon or

12  aproduct that you associated with the name _(__,

Raytheon? ~—

MS. McCORMACK: Same
15 objections.
16 MR. SMITH: Same objections,

plus overbroad plus leading.
THE WITNESS: More times than—
not if we had to work on a piece of

 

 

 
 
 

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20 machinery the next day to change a part
21 that we didn't have, it wouldn't -- we
22 already cleaned a piece of machinery, the
; 23 very next day it wouldn't happen. If the
a Bz machinery sat for a week or two or three
~~

11 (Pages 38 to 41)

 

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* Page 42 Page 44
weeks or four weeks, all the dust that 1 equipment on -- on something else, you
cin there came -- came out. 2 just work on it. You're not paying as
» MR. PRESENT: 3 much attention on names or -- or, you

+ With respect to this dust, do you 4 know, just, you know, the circuitry may
© knowledge now about the dust that you 5 change a little bit and you -- but that's
Gre exposed to in this activity was your 6 what you're doing.
bestos -- WaS made of asbestos or -- 7 MR. SMITH: Respectfully move
Now I do. 8 to strike the nonresponsive portions.
MR. SMITH: Objection; 9 BY MR. PRESENT:
overbroad. 10 Q. Okay. With respect to the work
7 MR. PRESENT: 11. that you associate with the name Raytheon,
Q. And did you see any kind of 12 were you in one of the three rooms that you
Irning on any on the Raytheon equipment 13. talked about, the radar room, the pomsey
Jing you that -- that this dust could 14. yoom, the utility room, were you in those
tr cause lung cancer or make you sick? 15 rooms when other individuals vot
No. The only -- 16 that you associate the name Raytheon as
MS. McCORMACK: Objection; 17 welt
‘leading. 18 MS. McCORMACK: Objection to
MR. SMITH: Overbroad. 19 form.
THE WITNESS: -- the only 20 MR. SMITH: Vague; ambiguous;
warnings that were on any equipment were 21 overbroad.
shock warnings, electrical shock 22 THE WITNESS: When we were at
warnings. 23 sea, we were on port and starboard——___
y MR. PRESENT: 24 shifts.And that meant four hours on and
Page 43 a Page 45
Q. Okay. With respect to this -- 1 four hours off. So at least 12 hours of
bse scopes that you associate with the name 2 the day I was in one, if not all of these
Gytheon, would you have encountered the same 3 rooms, including lookout stations through
} d engaged in the same activity when 4 my watches.
i Were on the Independence as well? 5 BY MR. PRESENT:
MS. McCORMACK: Objection; 6 Q. Okay. And did -- with respect to
Ieading; lack of foundation. 7 your time at sea, would you -- can you tell
__ MR. SMITH: Vague; ambiguous; 8 us where the Lake Champlain went to during
rbroad, 9 your career on the ship?
THE WITNESS: As -- as I stated 10 A. We did a North Atlantic
on't know if it's part of 11. anti-submarine warfare exercise. Then we
xe Champlain and the 12 did -- went -- went to the Mediterranean, and
were two different styles of 13 we also were on site for the recovery of
ut they were aircraft 14 Gemini III and Gemini V.
ipment on the Lake 15 Q. Okay. With respect'to the -- the
very similar, ifnot the 16  Raytheon-associated product, did you
Bs a on the Independence. 17 actually -- when you were not maintaining it,
Bence may -- had some newer 18 did you actually use that equipment also
Fagarscopesand 19 while you were on the ship?
on the Lake Champlain. 20 MS. McCORMACK: Objection to
orking on a piece of 21 form; leading.
a: tm — I'm 22 THE WITNESS: The --
ie Tle years,sehien 23. BY MR. PRESENT:
—— ar piece of 24 Q. Asa--asa radar man?

 

 

 

 

   

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12 (Pages 42 to 49)

 
 

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MR. SMITH: Objection; vague;
ambiguous.
iadantes WITNESS: As a radar man
J you were operating the equipment that
contained the Raytheon, yes.
Wy MR. PRESENT:
Vo. Allright. You also mentioned
. ‘name Westinghouse. Did you work on
uipment that was labeled Westinghouse?
DA. Yes.
Q. And with respect to your work on
> Westinghouse equipment, can you explain
hat kind of work you would do and how
‘Equently that would happen?
A. It was -- the equipment
estinghouse was maintained similar to all
> other equipment. We worked the same
Faning schedule, the same repair schedule,
© same down time on every piece of
Juipment that we worked with.
4 Q. Okay. And what -- can you
§scribe this Westinghouse equipment that you
brked on, what -- where was it and what did
ook like?

|

 

 

MR. SMITH: Objection;
compound.

THE WITNESS: I believe -- I
believe it was the -- a component of the

gs.

R, PRESENT:
_ Okay. And where was it located?
' On every scope.
_ Okay. And how often would you be

  
  
  
  
  

© sitting in front of the

nur 12-hour shifts, whichever
Whatever scope needed to be
‘shut down and it was worked

  

   

Id shut down, and you would
d the scope -- and I'm

'M not saying exactly

Ope one, two, or

|SCOpe one; you'd work

 
 

   

 
 

Page 46 Page 48
1 the equipment labeled Westinghouse, would you
2 have to take any of the equipment apart?

3 MR. SMITH: Objection; leading.
4 THE WITNESS: You're taking --
5 you're dissembling -- you're -- you're
6 taking apart the units to work on the
wi insides of them, yes.
8 MR. SMITH: Ambiguous.
9 BY MR. PRESENT:
10 Q. Okay. And when you would do
11 that, would that process on the Lake
12 Champlain affect the atmosphere in any way?
13 A. Yes.
14 MR. SMITH: Objection; vague;
15 ambiguous; overbroad; calls for expert
16 opinion; lack of foundation; speculation.
17. BY MR. PRESENT:
18 Q. And how would it affect the
19 atmosphere?
20 MR. SMITH: Same.
21 THE WITNESS: Dust, debris.
22 BY MR. PRESENT:
23 Q. And would that have any effect on
24 you?

Page 47 Page 49
1 A. Myself and anyone else that was
2 in the -- the immediate vicinity.

3 MR. SMITH: Same.
4_ BY MR. PRESENT:
5 Q. What sort of effect would it have
6 on you?
7 MR. SMITH: Same.
8 THE WITNESS: You're working on
9 something, a puff of smoke comes out,
10 you're there, you're trying to wave it
imi around. You hold your breath and just
12 try to wave the debris or the dust away
13 from you.
14. BY MR. PRESENT:
15 Q. Okay. And did this happen every
16 time you worked on Westinghouse equipment?
17 MR. SMITH: Same; also
18 overbroad.
19 MR. KATTNER: Objection.
20 THE WITNESS: When you opened
21 the components up, yes. When you were
22 working on the face, no.
23 BY MR. PRESENT:
24 Q. Okay. And -- and how frequently

 

 

 

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13 (Pages 46 to 49)

 
   
  
 
   
  
    
  
 
  
 
  
  
    
     
     
      
     
    
     
       
       
    
     
     

 

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Page l

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: ASBESTOS PRODUCTS

LIABILITY LITIGATION (No. VI)

 

CALVIN DAMON and ROSANNE DAMON, h/w,.
Plaintiffs,
Vs.
AIREON MANUFACTURING

CORP., et al.
Defendants.

Transcript of the continued videotape
deposition of CALVIN DAMON, called for Oral
Examination in the above-entitled action, said
deposition being taken by and before MICHAEL R.
MONAHAN, a Registered Professional Reporter and
Notary Public, held at the Best Western Inn at
Hunt's Landing, 120 Routes 6 & 209, Matamoras,
Pennsylvania, on: November 18th, 2014, commencing at
10:30 in the morning.

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Page 112

 

 

 

 

 

 

4 A ~The ECM room was off the radar room. il Q__ [have one more question about tubes and
- © There was probably, it was all electronic equipment, 2 radar scopes, which it occurs to me we didn't ask.
3 I'm going to say a bank of probably six. 3 How-many tubes are there in each radar scope?

A Q Was there any major difference between 4 MR. SMITH: Objection, vague and

5 the two ships? 5 ambiguous, or do they vary? Leading.

6 MR. SMITH: Objection, vague and -- 6 A I would say there's, between junction

oi MR. PAUL: Excuse me, let me finish my 7 boxes which are a form of circuitry, probably

8 question. I know you want to, I know that you 8 around, probably about 15 different tubes and other
5 enjoy objecting, but you have to wait until J 9 junction boxes.

10 ask the question first. 10 Q__Ineach one?

11 MR. SMITH: IJ enjoy doing my job, There 11 A Yes.

+2 was a pause and I thought you were, so J 12 Q Does it make a difference, are there a

a apologize. 13 different number of tubes in each radar scope,

tA MR. PAUL: I'm so happy for you. 14 whether it was the Lake Champlain or the

15 Q Again my question was, was there any 15 Independence?

16 difference, you talked about how many there were, 16 MR. SMITH: Objection, leading,

17 radar scopes, and my question was, was it the same 17 A There aren't, there is not. There are

18 number of radar scopes on the two ships or was there 18 different scopes but-there are not different tubes.
19 a difference in the number of radar scopes between 19 MR. PAUL: I want to move on to some other
20 the two ships. 20 areas that I want to talk about. Within the
21 MR. SMITH: Objection -- 21 last couple of weeks I provided to defense
22 A __ There was probably more on the 22 counsel certain documents which I want to go
23 Independence because it was a larger ship and a 23 over. I'm going to mark them as 1,

24 newer ship, 24 Plaintiff's 1. I'm going to identify each
25 Q__ Ifwe said, you said let's see, eight, 25 page however for the record, which should be

Page 111 Page 113
il if I counted right from what you said, about 16 1 relatively clear and then I'll give it to the
2 radar scopes on the Lake Champlain. How many were 2 court reporter at the end.
3 there on the Independence? 3 The first --
4, MR. SMITH: The same objection. 4 MS. REICHELSON: I just want to place an
5 MS. BRIDDELL: Speculation. 5 objection on the record, to the extent that
6 A Probably a half a dozen more. 6 any questions are beyond the scope of the
7 Q You mentioned this palmsy, did the qj testimony today.
8 _palmsy brush, did it use the term P-O-M-S-E-E, does 8 MR. SMITH: I join.

2 that sound familiar, do you know what that word 9 MS. REICHELSON: I move to strike any
10’ means? 10 testimony that arises out of these questions.
ii MR. SMITH The same objection. 11 MR. SMITH: Join.

12 A No. 12 Q _ Sir, earlier in this deposition you
13 Q The dust that you described, did that 13 testified that I had given you some documents to
a _ happen every time you removed a tube? 14 look at?
TS: MR. SMITH: Objection, vague, ambiguous, 15 A Yes,
misstates testimony. 16 Q Last night. Are these those documents?
MS. BRIDDELL: Asked and answered. 17 A Without looking at every one, I would
A Every time you opened the machine, yes. 18 say yes.
MR. PAUL: Okay. 19 MR. SMITH: Objection, leading, and I
THE VIDEOGRAPHER: The time is now 2:02 20 believe it also misstates testimony to the
P.M. We're off the record. 21 extent that plaintiff has, Mr. Damon at his
(A brief recess was taken.) 22 last deposition I believe said they he looked
THE VIDEOGRAPHER: Time is now 2:10 p.m. 23 at records before his first deposition without
oe, We're on the record. 24 Mr. Present --
~ BYMR. PAUL: 25 MR. PAUL: That's right.

 

 

  
   
 

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Page 114 Page 116
- [didn't know that was you all clear, Nn aero Tan the last time.
Le I'm not Mr, Present 2 Is this Wie ind of thing you were talking about or
PTH -Yes; that's right. 3 is it a different piece of equipment?
+) These are the documents that he 4 MR. SMITH: Objection, leading.
5 A hat's part of the bank of equipment,
6 that ————
MROPAUL: That's right, that's what we're 7 Q Did you ever have to open this
8 particular piece-ofequipmenttp?
9 MR. SMITH: Objection, it lacks
is MR: PAUL: I'm not going over anything 10 foundation, it calls for speculation, assumes
" neve went over the last time. 11 facts not in evidence.
12 MS. McCORMACK: Objection.
ction 13 MR. PAUL: How can it lack foundation if
aN: 1) from the Raytheon 14 he personally did something, counsel?
15 MR. SMITH: He doesn't even know if he
ee 16 worked on this piece of equipment.
- are’from the National Archives. 17 MS. McCORMACK: Objection.
You talked about Raytheon im the last 18 MR. PAUL: I just want to make sure I
deposition, as I recall? 19 understand the nature of your objection. Go
A Yes. 20 ahead.
Q When you looked through these documents 21 A Basically every piece of equipment in _
was there anything, and J'll stick to the first, 22 the ECM room, and basically every piece of equipment
that particular one first. Was there anything about 23 in the CIC, forward CON, the CON, at one point in my
this document, that is, the one for the AN/SPN-12- 24 nayal career I worked on just a about every piece of
that toked familiar to you, sir? 25 equipment there. >
axel.
Page 115 Page 117
1 MS,.McCORMACK: Objection to the form. 1 MR. SMITH: Objection, move to strike
2 MR. SMITH: Objection, leading. -— 2 portions lacking foundation, based on
5 A I'm looking through it, and again I'm | 3 speculation and non-responsive.
2 isual individual and I saw a piece of f equipmen 4 MR. PAUL: Let's agree that you have that
a at looked looked familiar 5 objection to every question, so you don't have
6 Q And that's the document that's marked 6 to keep saying it each time.
| 7 _ Section 3, Paragraph 4, Confidential Navships. fi MR. SMITH: I'm not sure that there's that
8 91778(A). What is this piece of equipment, sir? 8 basis in law for that.
3 A | can réad what it says, it says it's a_ 9 MR. PAUL: Alright.
*Y ‘gyro compass. It's part of the IFF equipment-er the 10 Q What did you do with the piece of
ECM equipment. 11 equipment -- did you know whether it was Raytheon
Q__ Did you personally work on this 12 that you worked on specifically, because you
particular equipment? 13 mentioned Raytheon before. Did you work ona
MS. McCORMACK: Objection, asked and 14 Raytheon piece of equipment that looks like what's
answered. 15 pictured in Radar Set AN/SPN-12?
MR. SMITH: Leading. 16 A Yes.
A It may not be this exact piece of 17 MS. McCORMACK: Objection.
‘equipment, but something very similar to-this. 18 MR. SMITH: Assumes facts not in.evidence.
Q Tell us about the piece of equipment 19 Q ‘Tell us what you-did-with-that piece of —
ou Worked on, is something that youtottus | 20 equipment?
about before or is this a different piece of 21 (Discussion off the record)
, quip ment? 22 Q Do you understand the question?
This is one of the pieces of equipment 23 A Yes, I do.
would be if the EEM-room——__ 24 Q -Okay.
Is thisthe-kind Gf, just So that we're 25

 

A I worked on, I'm saying 99 percent

—_

 

 

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Page 114 Page 116
4 1 him.
nes if you didn't have an 2 THE WITNESS: If, when I open
enow, there wasn't -- it was 3 the machine -- and we were around the
5, the machine broke down, you 4 machines every four; four hours on, four
Spaip and take it apart. 5 hours off. If something was leftover
estood. 6 from the shift before, you had to take it
d you provide your best 7 cover. When you're out at sea for 30 and
hat percentage of time as an E-4 8 45 days at a time, you're constantly in
ve done, quote, unquote, E-3 9 front of these machines. You are
s dusting and all those duties 10 opening, You're trying to get them to
{ about earlier today as an 11 breathe. You're trying to work on the
with the radar? 12 down machine. When the down machine is
ponse.) 13 off, you -- you go in another room and
_PRESENT: Do you understand 14 shut down all the power.
on, Mr. Damon? 15 But you're not always a grunt.
B WITNESS: I'm trying to -- 16 You know, just because you have a rank
snd and define your -- your 17 doesn't mean -- in my case, it didn't
y me. 18 mean that I was going to let somebody
TH: 19 else do all the dirty work. I had to
me restate it. I'm just 20 pitch in. So I -- I am not that type of
re out what percentage of time 21 person. That's the reason | would have
ere an E-4 you were -- spent 22 never made a good officer.
d this is with respect to work 23 But I was -- I'd have to say
pment. . 24 80 percent of the time I was involved in
Page 115 Page 117
a all parts of it. More often, I would
trying to figure out what 2 say, when I was an E-3, I was doing more
f your time you would have been 3 of the dirty work on a consistent basis.
ring equipment versus doing 4 But as -- when I became an E-4, | was
work? 5 still doing all the work beside my guys.
time you repaired the 6 So I wasn't -- I was -- didn't designate
equipment had to be cleaned 7 the same crap jobs that somebody gave to
y work on it. Sometimes 8 me.
ebody there to help, and other 9 I'd have to say 80 percent, if
wasn't. I'd have to say 50/50, 10 you're looking for a number, of the time
od answer for you. 11 | was involved with the machinery,
t's your best estimate, 12 opening it and closing it; actually
answer. 13 vacuuming it, if there was a vacuum
would have to say it -- 14 there or a brush there that somebody
8 not 50/50. I don't know how 15 didn't get, I would have to do it.
question -- 16 You're working on stuff that gets dusty
os 17 real quick.
— exactly the way you're asking 18 MR. SMITH: Sure.
Pr 19 THE WITNESS: And you have to
ay. Let me ask -- 20 keep it clean.
I don't mean to be rude, 21 MR. SMITH: Okay. And just --
22 have to make statements for the record.
'R. PRESENT: Please don't 23 Respectfully move to strike
thim. Please don't interrupt 24 non-responsive portions and portions

 

 

 

 

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30 (Pages 114 to 117)

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Page 118

piece of machinery that
asn't in my bailiwick of what

over first,
dies you pull oul, some you idn't.
) ork on them.
nd because Te could ba mn them
maparcth quipmentic wa ==
at was the best time to take it _
gnitttiydo you want me to show you?

We had different vent areas that were
tation coming through. The back of the area
‘the side’of the area where the heavily, where

_ mostly dust would accumulate because it didn't have
_ the proper flow; you would take it apart, you would
try to undo the: front screen and then that would

Wh FR

ouwmnnat nuns

  
  
 
 
 
 
 
 
 
 

 

Page 120

would intensify or brighten or raise the meter up
based on what's happening in the air.

Q This document references cables. Do you
know what that is, what the cable is?

MR. SMITH: Objection, vague, ambiguous.

Leading, over broad.

A Cables?

Q Cables, yes.

A Your items were powered and one would
attach to the other and transfer information.

Q What was the condition of this piece of
equipment when you opened it up?
MR. SMITH: Leading, vague and ambiguous.
MS. McCORMACK: Objection.
A Thecondition? They were there 10, 15
years before I got there, so some of them were
chipped, some of them were repainted. Some were,
when I opened up a piece of equipment, I wasn't
looking at the age of the equipment, I was looking
in and J would pull out a schematic and see what
e replaced and tried to find it and trace

  
 
 
 
  
  
 

 

 

 

 
 
 
 
 
 
 
 
 
 
  
 
  
 
  
  
 
   
  
 
 
  
  
 
 

 

 

expose'certain elements. Some of the units you 22 it.
ts Would be:able to pull out the instruments from once 23 MR. SMITH: Objection, move-
you've removed the cover. Some you had to take off 24 non-responsive portions.
| 2 the sides, some you had to take off the backs. I 25 Q What was the condition when this radar
See Page 119 Page 121
don't know if J answered the question, but that's 1 set was opened up?
how you did it. 2 A The condition --
MR. SMITH: Move to strike on the same 3 MR. SMITH: The same objections.
grounds. 4 A The condition? Whenever you opened
Q When you talk about elements, would you 5 these tfiings up, the condition was poor because you
- explain to the jury what that means, what you mean 6 wo ave fem up if they weren'S ~~
by an element? 7 ifthey were prior services. When you open these
MR. SMITH: Leading. 8 things'up; they were running 24/77 untilthe =
A —Element, you had different tubes, you 9 mai ymin Gvery-minute.ofevery day,
had 1 different wires, you had different coils that 10 so-they_heat.up.and dust, that's the-maintenance on———
connected your wiring. The term element was 11 it. So they're dusty; dirty, sometimes they smelled
‘different parts of the machinery, that's how I'm 12 of burtiing stuff when you opened them.
__ ising the word element. 13 MR. SMITH: Move to strike unresponsive
Q Can you describe the product, what was 14 portions.
fbsido this product that looked TES Rayiigon 15 Q  Wasit-your job to.clean this box out?
iete of equipmen 16 MR. SMITH: Objection, leading, over
~ MR. SMITH; Objection, vague and ambiguous 17 broad.
i. and broad. 18 A,__ When you opened the unit you had to
___ MS. McCORMACK: Objection. 19  ,¢lean-the.unit_you had to dust the unit, you had to
~Q Go ahead. 20 vacate any.other debris that was in the area that
A You had -- 21 you were working so that the dust would not conduct
MR. SMITH: Leading. 22 a different flow of i
__ ~ Bauges that indicated polarity, 23 MR. SMITH: Move to strike on the same
nm. You had gauges which indicated voltage. 24 grounds.
25 Q There are parts that are mentioned in

had, there was your different gain switches that

 

 

 

 

 

 

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ment called terminal boards. That's a 1 unit, they were not tight compacted, they were
2 puffy.
MITH: Leading 3 Q There's a reference to something called
A terminal board is where you have a 4 an oil seal. Do you know what nae iS
here your condenser is, your relays are, and 5 MR. See The same objection.
term ‘al board, we mentioned a mother board 6 A That might have been on one of the
are: your terminal board was contact to where 7 scopes, I'm ae oo -
iF base Of your tubes were. 8 Q __ It's identified, again it's still the
Do you know what the composition of the 9 same product, it's identified as "weather seal in
uaa? 10 the reflector bracket adapter." Do you know what
__- *-MR. SMITH: Calls for speculation, lacks 11 those terms mean?
¥ _ fotindation. 12 MR. SMITH: The same objection.
“MS. McCORMACK: Objection. 13 MS. McCORMACK: Objection.
“A ‘No, I don't. 14 A I know what they mean but I can't place
f Q Do you know what a toggle switch is? 15 them on the machinery.
a im. & Yes. 16 Q The next one is an Instruction Book for
“MR.-SMITH: Leading. 17 Radar Set AN/SPN-8(XN-1) from the Bendix Radio
Lis! = ‘What's a toggle switch? 18 Company.
A> ‘Toggle switches were all used on a lot 19 MS. REICHELSON: Note my objection.
_ of the, they were used on all the machinery, on all 20 Q Take a look at this again. Having
_ the scopes and all the different varieties of ECM 21 looked at this, is there anything in this document
equipment. They were turning the unit on, turning 22 that looks familiar to you?
it off. Basically that's what they did. 23 MR. SMITH: Leading.
- Q_ There's a reference in this document to 24 A Just some of the terminologies and names
what's known as retainer packing and sealing 25 of stuff that I haven't looked at in 50 years.
Page 123 Page 125
packing. Do you know what those things are? ~ il MS. REICHELSON: Move to strike.
MR. SMITH: Objection, vague and ambiguous 2 Q_ Which of those look familiar to you?
over broad, leading. 3 Let me ask you that.
Q Do you know what those are? 4 MR. SMITH: Leading.
+ A Iknow what the word packing is, yes. 5 A Without my reading glasses on, I
* Q Tell us what packing is? 6 remember reading it last night. Some of the
A When you're puting a switch in -- 7 terminology about the switches and how to operate
MR. SMITH: Objection. 8 them, that’s basically it.
‘A ~~ there is an element that has to 9 Q You had mentioned, you talked about
‘protect your contacts and that's what we had. 10 Bendix at the last deposition, do you recall that?
Q Do you recall ever handling this packing 11 A Yes.
_ when you opened up this particular piece of 12 Q Is this the Bendix product, if you
uipment that we're talking about. 13 recall, or is it a different Bendix product.
MR. SMITH: Objection, leading, vague, 14 MS. REICHELSON: Objection, asked and
misleading. 15 answered, lack of foundation, and beyond the
~ MS. McCORMACK: Objection. 16 scope again.
You could not help touching it because 17 MR. SMITH: Leading.
¢ bs ‘Were removing the switches and replacing the 18 MS. McCORMACK: Objection.
r 19 A I don't know exactly.
:) Q What was the condition of the packing 20 Q What Bendix product were you talking
you opened up the equipment, do you recall? 21 about the last time?
_ MR. SMITH: The same objection. 22 MS. REICHELSON: Asked and answered over
a McCORMACK: Objection. 23 and over again.
‘ epending on the last time it was 24 MR. SMITH: Leading.

  

iced; they were frayed more from the heat of the

   

 

Q You can answer.

 

 

  

MAGNA® 32 (Pages 122 to 125)

LEGAL SERVICES

 

  
 

   

 

 

 
EXHIBIT D
 

 

 

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Se

 

_ NAVSHIPS 91778(A) CONFIDENTIAL
o SECURITY INFORMATION
(Non-Registered )

INSTRUCTION BOOK
for

RADAR SET
AN/|SPN-12(XN-1) |

 

RAYTHEON MANUFACTURING COMPANY
WALTHAM, MASSACHUSETTS

BUREAU OF SHIPS DEPARTMENT OF THE NAVY
Contract: NObsr-57066 __ Approved by BuShips: 16 October 1952

“DECLASSIFIED
Authority NNIDTR4382.

 

 

 
 

 

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AN/SPN-12(XN-T)
FRONT MATTER

CONFIDENTIAL
NAVSHIPS 91778(A)

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(1) General
(2) Circuit Details...

g. Audio Circuit oo. c ceceeeceeceeceeeees
(1) General
(2) Cirenit Details oo...

Bd eee ene eee ak ace nene ened

 
  
 
 
  
 
 
  
  

ATA grand ede seman e bate cedar ereeennebioge

‘Bb. Tracking Control Circuit . stennavavnuveaassien

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AN/SPN-12(XN-1)
INSTALLATION

CONFIDENTIAL : *
NAVSHIPS 91778(A)

- Section 3
Paragraph 4

 

 

 

 

 

"Figure 3-18 Gyro Compass Synchro Amplifier Mark 3 Mod, 1
Cable Entrances and Mouarting Details

4.. PROTECTION OF EXPOSED UNITS.

All terminal tubes and cables should be carefully
chromated and painted after installation ta prevent
corrosion.

5 CABLING.
« GENERAL INSTRUCTIONS.

Refer to the Interconnection Wiring Diagram (fig-
ure 3-19), nad carefully followell epectfications as to
the cable type:

Refer to figure 3-20 for Primary Power Distribu-
tion..

Use standard Navy armored cables for all imter-
nit connections. Run all cables in accordance with
standard Navy wiring practice.

Lug and number all individual conductors. Take
care ta prevent short circuits at terminal strips and
jeck assemblies. Remove insulation from conductors
only far enough té make good soldered connections,
and avoid dropping solder and wire clippings between
terminals. Place a short piece of spaghetti tubing
over the junction of each conductor where it enters
the shank of the soldering Ing. This will prevent

adjacent luge. Check all jacks and plugs for tight-
ness. Lace tightly into cables all leads terminating on
terminal strips or on plug or jack assemblies.

Bond all external shielding (armor) at several
points to the ship’s common grounding strip to pre-
vent or lessen interference between the Radar Set and
other equipment.

The armor on the power cables should be grounded
in accordance with “General Specifications for Ma-
chinery for Vessels of the U. 3. Navy” (see S-62-2).
The armor should be grounded to the ship's structure
closely adjacent to the unit to which the cable con-
nects, and also at several points along the cable length
within the space, preferably ‘at every other cable
hanger. Grounding of armored steel cables should be
done by cleaning the armor of the cable at the point
where the securing clamp of the grounding device is
fastened and grounding this clamp to the ship’s struc-
ture with a strip of sheet steel which is 3/8” x 1/32”.

- One end of the steel strip should be fastened with a
securing clamp and the other end with machine
acrews to.a snitable pad welded to the ship’s struc-
ture.

b. CABLES,

The cables listed below are multiconductor cables
used in the system,

Cable Location of Cable

' R-EC 1 Power Supply to 115v, 60 cycle supply

~ R-EC 2 Computer to Power Supply

~ R-EC 3 Computer to Receiver-Transmitter
R-EC 4 Power Supply to Receiver-Transmitter
B-EC 3 Synchro Amplifier to Computer
R-EC 6 Computer to L.S.O. Speed Indicator
R-EC 7 Computer to C.C.A. Room Speed Indicator
R-EC 8 Computer to Air Officer Speed Indicator
R-EC 9 Computer to Wind Intensity Cirenit

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INFORMATION 3-15
 

 

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Section 8

, CONFIDENTIAL
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col “+ AN/SPN-12(XN-1)
NAVSHIPS 91778(A)

PARTS LIST

 

TABLE 8-4

TABLE OF REPLACEABLE PARTS.

 

REFERENCE
DESIGNATION

STOCK NUMBER

NAME AND DESCRIPTION

LOCATING FUNCTION

 

XV2202

XV2203
XV2204
xv2205

-Same ae XV2202

SOCKET, ELECTRON TUBE: §& contact octal;
round excluding mounting flange; dia.’
excluding mounting end terminals
1-7/64 in, din, 31/64 in. deep; mica
filled bekelite body; mounted by
noalded in plate «/two 5/32 in. dia
holes located 1-1/2 in. © to a,
1-7/64 in. dle ohnenis hole required;
American Phenalic Carp. MIP-8T;

Some ea XV1B01

Seme as XV2202

Some as XV2202

For ¥2202

For V2203
For V¥2204
For ¥2205

 

C2301 CAPACITOR FIXED, ELECTROLYTIC: 1 Filter
section; 2000 mfd; 50V DC working;
moisture proof plastic anse; din,
1-143/16 in, diem 4-3/8 in, 1g; 2
solder lug termiadls on one end;
bracket for vertical mounting; .
polerized; P.A. Mallory Go,, Inc.
type BC- 5020,

C2302 Seme ae (2301
2303 Same os C2301
C2304 Sume os (2301
©2305 Same a6 C230}
Cl2HsE. Seme us C2301

CR2301 RECTIFIER, METALLIC; selenium; designed]
for single phase full wave circuit
MBCA Ref Dwg Group 23; input 78 v
single phene; output 40-60 v, o amps
max, full wave rectification;
rectangular ahape; dim. excluding
wounting end terminals 4 in, square
by. B-1/4 in, deep; two no, 5/16-18
thrend by 5/8 in. lg mounting studs,
one each end; 3 solder lug terminals
located gone sida; Sarkes Tarzian Inc.;
D-33.

£2301 — TERMINAL BOARD: molded mice filled
N17~-B-77596-2571 phenolic; 3 double screw type term-

ma inals; barrier type; over-all dia.
2-1/16 in, Lg, 1-1/8 in. wide,
33/64 in. high; four 0.175 in. dia
mounting holes on 1-3/4 in. by 7/16
in. mounting centers: Howard H.-
Jones, 3-141-0; Reytheon part
#247-1015G3,

E2302 NOT USED
thea
£2311

Filter
Fileor
Filter
Fileer
Filter

Filament supply
rectifier

General une

 

 

 

 

 

 

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Section 8
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NAYSHIPS 91778(A}

se AN/SPN-12(XN-1)
PARTS LIST

 

TABLE 8-4

TABLE OF REPLAGEABLE PARTS

 

REFERENCE
DESIGNATION

STOCK NUMBER

NAME AND DESCRIPTION

LOCATING: FUNCTION

 

$1008

51006.
$1007
T1004

TP1001

TP1002

XF1001
thru
XF1003

XF 1004

XF 1006.
X11001

 

 

N17 -5-72396-1763

eee

waee

NLT -F-7 4267-6921

N1T-L-16686-2447

ween

 

swrton, TOOGLE; JAN TYPE ST42E; single
pole, double throw; cated 0.75 asp
DC,- 15 amp AC at 128%: Spee JAN-S-23;
Cutler Hammer Raytheon part
9228-1001P5.

Same as 81001
Seue as $1001

TRANSPOPWER, - POWER, STEP DOIN: ope
metal frase; inpat llév, 60. cyoles,
l phase; 1 sutput winding, 75y at
1.5 amp eutpetr; eest v 1800 v rms;
air cooled; permafil and varnish in-
prognated dim: 3-1/4 in, max lg,
3-1/8 in.’ mex wide,- 4-1/16 in, max
high; 4 solder lug terminals, 2 on
front, 2 on back; four 1/4 in.- dia
neunting holes on 2-7/16.in. by
1-5/8 in. mounting centers; elegtro-
static shielding; Raytheon pert
9292-17 16GI1.

CONNECTOR, ARCEPTACLE: | reund female
contact; straight type; over-all din.:
29/32 in. 1g exelading terminals,

V2 fa, dita; cylindricel, bress
barrel, bakelite top body; mts #/no.

5/16-32 thread by 3/4 in. 1g on bedy;
iacludes 2 washers ead nut; Hugh H.°
Eby, £49.

Same ao TP1001

ROT USED

FOLDER, FUSE: fer one 1/4 fa. x 1-1/6
ja. of 9/32 im. x. 1-1/4 ie, glass
fuse; welded bakelite body / copper
clipe; 18 emp; ofa dimen 2-7/16. in.-
lg x 3/4 in. diam; marking of "FUSE"
with arrow; Bussmen Mig. Co., HOM;
Raytheon part §343-1001P1.

Sane as XFIOUS
Sane an XF10DA

LAMPHOLDER: single holder; sceommede-
tem miniature base lamp; rated 125 or
250y¥, 1/4 watt; brass body; over-«ll
din.’ 1-17/32 in. Lg by 158/16. in.- OD;
2 solder leg terminals; mounts v/no.-
11/16-27 threads includes built iw
teeiator, washer, lookwasher azd nt;
Dial Light Corp.; 95408-93;

Reytheen part $281-l017P1.

"Not furnished as « maintemance part. If
failure occurs, do not request replece-
mont uplese the item ceanot be repaired
of fabricated,

Good-bad switeh

Leaal remote switch
MAN = AGC switeh

Synchro serving
vol tage

Video input test
point

Feraquency waltiplier
outpat test poise

For FIU04.

For F1L005
Fer F1005.
For 11001

 

 

 

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AN/SPN-12(XN-1) CONFIDENTIAL 7 Section 8
PARTS LIST NAYVSHIPS 91778(A) E1012—E1022
® TABLE 8-4 TABLE OF REPLAGEABLE PARTS
REFERENCE iy E D .
DESIGNATION STOCK NUMBER NAME AND DESCRIPTION LOCATING FUNCTION
£1012 — TEFMINAL BOARD: black molded phenolic General use
; W17-B-17988+5571 board; 12 double screw tominels;
aa w/barriers; over-all dim. 6-in. lg,

1-1/8 in. wide, 33/64 in. deep; four
0.175 im, dia mounting holes on
$-11/16. in. by 7/16. ins mounting
contears; Howard B.- Jones, 12-141-0;
Raytheon part £247-1005G12.

 

£1013 Seno ns £1012 : General uso
E1014 Seme as E1012 General use
ENS TERMINAL BOARD; black moulded phenolic | General ane
board; 8 doable screw terminals; w/ .
@ barriers; over-all dim. 4-1/4 in. 1g,
1-1/8 in. wide, 33/64 in. deep; four

03275 dn. dia mounting holes on
3-15/16 in. by 7/18 in. mounting |
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trance. This will make the entrance or passage water-
tight when the tube is drawn up.
If a brass gland nut is used with armored cable,
‘ paint the armor with zinc chromate or a 2-to-1 mix-
ture of zinc dust and petrolatum to prevent galvanic
action.
(6) ATTACHMENT TO UNIT OR
BULKHEAD,

Screw the neck of the tube into the unit or
bulkhead and tighten securely with a wrench.

(c) INSERTION OF CABLE.

Slip the gland mut and gland ring onto the
cable and insert the cable into the tube end until the
armor just reaches the narrowest portion (beginning
of the neck),

Note

All steel gland nuts should be zinc-plated.

(2) RETAINER PACKING.

With the gland nut and gland ring pulled back
out of the way, insert one turn of retainer packing of
the correct width to fill the space between the cable
and the tube. Cut off the packing to overlap approxi-
mately 1/4”. Tamp the packing firmly in place, using
a wooden offset tamping tool or a plumber’s caulking
iron. ———————— ae

(e) SEALING PACKING. ™

Insert several turns of sealing packing of the
correct width to fill the space, tamping each turn
firmly ii: place. Use as many turns as necessary tb fill
the remaining depth of the tube, but leave just enou:
depth for one final turn of retainer packing. (

 

 

  
 

G.

Insert one turn of retainer packing, overlap-
ping the ends approximately 1/4”, If the cable is
armored, use metallic retainer packing to ground the
armor to the tube.. Tamp the packing firmly until
two threads are exposed on the inside of the tube.
These are sufficient to start the gland nut without
cross-threading.

(g) GLAND NUT.

Insert the metal gland ring. Carefully start
the gland nut into the threads of the tube, avoiding
cross-threading, then set it up tightly enough with a
wrench to make a bond between the cable and the
packing.

CAUTION

While the pressure thus developed within
the tube will vary with the type of cable,

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separate rings of sealing packing gre used instead of

 
   

 

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Paragraph 5 g (2) (a)

care must be taken not to apply a pressure
great enough to damage the cable.

Note

When extra-flexible, rubber-covered cables
are ron through terminal tubes, one of the
following special packings should be used:
(1) Split rings of soft, live rubber having
a@ square cross section 1/4”, 5/16”, or 3/8”,
as required to fit the space between the
cable and the tube, The ends of the rings
should be skived and as many rings used as
required to fill the packing space. The rub-
ber may be obtained in helical form, if
desired, and cut into rings as above.

(2) A long strip of soft, live rubber of cir-
cular cross section and of the proper diam-
eter to fit the space between the cable and
the tube applied in one continuous piece and
wrapped epirally around the cable. ,

(2) PLASTIC SEALER.

After packing the tube and setting up the
gland nut, fill the space between the cable and the
tobe with plastic sealer, This should be done both at
the gland nut end and at the neck end (except, of
course, on stuffing twhes and kick-pipes),

1. To ensure thorough application at the
gland nut end, temporarily remove the gland nut and
compression ring and apply sealer to the inner wall of
the tube all the way from the final retainer packing
to the mouth of the tube. Also, apply sealer to the
inner surface of the gland nut and to the portion of
cable normally covered by the gland nut. Then re-
place the gland ring and gland nut, tightening the
latter as before.

2. In most cases, the neck end can be
reached for sealing by working through the unit case,
or the neck may be sealed after completing step (a).

(Plastic sealer is not used with extra-flexible,
rubber-covered cables.)

Note

The type of plastic sealer to be used depends
on the application.
a. Type HF sealer is used in high tempera-
ture compartments.

 b. Type H sealer is used in locations aub-
ject to weathering.
c. Johns-Manville Duxeal is used where
moisture and vermin must be excluded. As
Duxeal does not flow readily at normal tem-
peratures, it must be packed into place.

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3 Section

ec. CABLE RUNS.

In planning cabling installations, it is advisable
first to sketch out the outline of each unit where it is
to be mounted. This will facilitate finding the best

cabling layout be¢ween the various units, and will

also give some idea of how the completed installation
will look.

In grouping cables, it is important to avoid layouts
that might build up electrical disturbances or other-
wise interfere with proper circuit performance. If
avoidable, RF cables ehould not run parallel. with
other ship’s cables, If unavoidable, a separation of
6” to 12” should be made.

Crossovers should be kept at a minimum. If un-
avoidable, they should be made in a shipshape fashion.
All cables should: be continuous between two units.

Unsightly cable bends can often be avoided at unit
entrances by the-use of 45° or 90° tubes and fittings.

All coaxial cables are fragile and miust be handled
with great care. Do not bend large coaxial cables on
less than a 7” radius, or small cables on less than a 5”
radius. Keep cables away from hot axhauat pipes, etc.

Sufficient slack should be left at entrances to permit’

the repair of cable ends without replacing the cables.
In general, allow an extra foot or two of alack.

No splice connections are permitted, except with
certain types of solid dialectric coaxtal cables, where
a splicing technique requiring the use of special molds
is employed. Refer to R.I-P., pages C-6-35 through
C-6-43 inclusive.

d. CABLE ENTRANCES.

Entrance to watertight units must be made with
standard Navy terminal tubes. Threaded entrances

should be coated with anti-veize compound (such as

2-to-1 mixture of petrolatum and zinc dust) before
installing the tube. Eatrance to non-watertight units
is preferably made through terminal tubes. These
need not be packed watertight, but should be packed
sufficiently to anchor the cables in place. In géneral,
where alternate cable entrances are provided, en-
trance froin the top is preferable; entrance from the
side or bottom is permissible as second and third
choice.

Passage of cables through decks and bulkheads ex-
posed to weather miust be made with stuffing tubes.

e. CABLE PROTECTION.

Wherever cables are liable to mechanical injury,
they must be protected by suitable metal casing. All
cables passing through decks must, be protected by
means of kick-pipes or riser-boxes,

Cables subjected to frequent or occasional immer-
sion in water must be installed as high as possible, In

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INSTALLATION

such places, the cables should be coated with a paint
resistant to water, oil, and acid and should be so
located as to be accessible for subsequent repainting.
All armored cables should be given a coat of zinc
chromate before paint is applied. Cables exposed. to
the weather should be painted at regular intervals.

f. CABLE SUPPORTS,

Cable supports should be designed to secure cables
without damage to armor or insulation, and should
be formed to make uniform contact with at least
1/2” of the cable circumference,

Coaxial cables should be secured with double-toe,
loose-fitting straps. These should be snug but not too
tight, since compression of the dielectric between the
inner and outer conductors will lower the voltage
breakdown paint.

Where cables pass through non-watertight balk-
heads or beams, a suitable bushing may be substituted
which will permit the cable to be drawn through
without damage. In cases where the thickness of the
bulkhead or webbing is 1/4” or more, the bushing
may be omitted but the edges of the holes must be
rounded.

g. TERMINAL TUBES.

(1) GENERAL.

To ensure long, trouble-free service, all terminal
tubes must be catefully packed as outlined below.
Defective packing is a common cause of equipment
failure.

(2) PACKING PROCEDURE FOR

MULTICONDUCTOR CABLES,

The procedure given below applies for packing
either terminal tubes or stuffing tubes with either
armored or unarmored multiconductor cables. (Slight
differences in procedure for the two types of cables
are noted.)

With all multiconductor cables, it is standard prac-
tice to use retainer packing for the first and last
layers and sealing packing to fill the space between
these layers. Plastic sealer. is applied to both ends of
terminal tubes to seal the space between the cable
sheath and the inner wall of the tube.

(a) SPECIAL PREPARATION.

If convenient at the time, apply plastic sealer
between the cable and the neck of the tube, as out-
lined in step (45); or, if desired, leave this to be done ~
later after the tube has been attached to the unit and,
packed, :

If the tube ic to be attached to a watertight unit
or bulkhead, apply anti-seize compound or other non-
corrosive material to the outside threads on the neck
of the tube and the inside threads of the unit en-

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SHIP INSTRUMENTATION
MANUAL

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d NEW YORK NAVAL SHIPYARD
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DEPARTMENT OF THE NAVY — BUREAU OF SHIPS — DECEMBER, 1958

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RADAR, IFF, AND ECM SYSTEMS

 

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